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                                      UNITED STATES DISTRICT COURT

                                     EASTERN DISTRICT OF CALIFORNIA



                                         ORDER OF REASSIGNMENT


                       The Court, having considered the recent appointment of United States

                District Judge John A. Mendez, finds the necessity for reassignment of this action,

                and for notice to be given to the affected parties.

                       IT IS THEREFORE ORDERED that:

                       This action is hereby reassigned to District Judge John A. Mendez, for all further

                proceedings. The new case number for this action, which must be used on all future

                documents filed with the court, is reflected on the Notice of Electronic Filing

                accompanying this order.

                       All dates currently set in this reassigned action shall remain pending subject to

                further order of the court.



                Dated: May 15, 2009



                                                            /s/ - Anthony W. Ishii
                                                       ANTHONY W. ISHII
                                                       Chief United States District Judge




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